






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       





NO. 3-92-514-CR





BEN MATHIS,


	APPELLANT



vs.





THE STATE OF TEXAS,



	APPELLEE



                       



FROM THE COUNTY COURT AT LAW NO. 5 OF TRAVIS COUNTY



NO. 363,201, HONORABLE WILFRED AGUILAR, JUDGE PRESIDING



                       





PER CURIAM


	This is an appeal from a conviction for assault with bodily injury.  Punishment was
assessed at confinement for 14 days and a $1500 fine, probated.

	Appellant has filed a motion to withdraw the appeal.  No decision of this Court has
been delivered.  The motion is granted and the appeal is dismissed.  See Tex. R. App. P. Ann.
59(b) (Pamph. 1992).


[Before Chief Justice Carroll, Justices Jones and Kidd]

Dismissed On Appellant's Motion

Filed:   November 18, 1992

[Do Not Publish]


